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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 19-CV-24766-Williams/Torres

   JANE DOE,

          Plaintiff,
   v.

   CARNIVAL CORPORATION,

         Defendant.
   _____________________________/

          PLAINTIFF’S RESPONSE TO CARNIVAL’S MOTION FOR NEW TRIAL

          Plaintiff, JANE DOE, hereby files her Response to Defendant, CARNIVAL’s Motion for

   New Trial (DE 329) and states:

                                          INTRODUCTION

          Carnival advances three arguments for a new trial: none has merit. First, CARNIVAL

   argues that the FBI field notes created a question of fact on Plaintiff’s Motion for Partial Summary

   Judgment on her claim of false imprisonment. Yet CARNIVAL failed to argue that point in

   response to Plaintiff’s Motion for Summary Judgment. CARNIVAL never mentioned the FBI

   notes at all in its Response. Thus, CARNIVAL’s assertion (DE 329, p. 1) that this Court excluded

   the FBI’s notes as hearsay in ruling on the Motion for Summary Judgment is demonstrably false.

   Likewise, demonstrably false is CARNIVAL’s assertion that “with the summary judgment

   decision in hand, Plaintiff then made a pretrial about-face, deciding she now wanted to use the FBI

   notes in her favor.” To the contrary, the parties stipulated to the use of the FBI notes – both

   Plaintiff and Defendant.

          Instead, CARNIVAL relied solely upon hearsay from the FBI reports to defend the Motion

   for Summary Judgment. That hearsay was CARNIVAL crewmember Fredy Anggara’s statements,

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   as transcribed by an FBI agent. Magistrate Torres correctly and easily ruled that Fredy’s hearsay

   statements were inadmissible hearsay and which could not be reduced to admissible form at trial

   because CARNIVAL had stated that Mr. Anggara would not and could not attend trial. (DE 151).

   This Court correctly approved and adopted Magistrate Judge Torres’ recommendation to grant the

   Plaintiff’s Motion for Summary Judgment on her claim of false imprisonment.

          Second, CARNIVAL argues that the FBI reports’ investigative conclusions – specifically

   that the FBI declined to prosecute – were admissible, and that the Court abused its discretion by

   excluding those reports. Once again, CARNIVAL is wrong. As this Court concluded, the FBI

   agents were aboard the vessel for a mere three hours, and the conclusions they drew were with

   respect to whether a criminal proceeding should be instituted. Because criminal proceedings have

   an entirely different standard of care than this tort action, this Court correctly conducted a Rule

   403 analysis and properly ruled that introducing the FBI reports’ conclusions would have

   minimum probative value and would unfairly prejudice the Plaintiff.

          Finally, CARNIVAL argues that it is entitled to a new trial because this Court denied a

   mitigation of damages instruction as to psychological counseling. First, CARNIVAL did not carry

   its burden to establish the failure to mitigate. Second, the Court repeatedly asked CARNIVAL to

   provide the Court with any case authority, or even a proposed written jury instruction concerning

   mitigation of damages related to failure to obtain more or better psychological counseling.

   CARNIVAL never did so.

                                        LEGAL STANDARD

          The remedy of granting a motion for new trial is sparingly used. Johnson v. Spencer Press

   of Maine, Inc., 364 F.3d 368, 375 (1st Cir. 2004). New trials should not be granted on evidentiary

   grounds unless, at a minimum, the verdict is against the great – not merely the greater – weight of



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   the evidence. Tucker v. House Auth. Of Birmingham Dist., 229 F.App’x 820, 826 (11th Cir. 2007).

   See Doe v. School Board of Miami-Dade Florida, __ F.Supp. __, 2022 WL 3973881 at *1 (S.D.

   Fla. 2022) (citing Quevedo v. Iberia Lineas Aereas De Espana Sociedad Anonima Operadora Co.,

   811 F.App’x 559, 562 (11th Cir. 2020)). Furthermore, “not every evidentiary error . . . requires

   reversal.” Peat, Inc. v. Vanguard Research, Inc., 378 F.3d 1154, 1162 (11th Cir. 2004). A new

   trial is warranted only where an error in admitting or excluding evidence “has caused substantial

   prejudice to the affected party (or, stated somewhat differently, affected the party’s ‘substantial

   rights’ or resulted in ‘substantial injustice’).” Id. See also Fed.R.Civ.P. 61 (“Unless justice

   requires otherwise, no error in admitting or excluding evidence – or any other error by the court or

   a party – is ground for granting a new trial, for setting aside a verdict, or for vacating, modifying,

   or otherwise disturbing a judgment or order. At every stage of the proceeding, the court must

   disregard all errors and defects that do not affect any party’s substantial rights.”)

                    I.       CARNIVAL Improperly Conflates the FBI Field Notes
                             with the FBI Reports. It’s Current Argument That the
                             Field Notes Created a Question Of Fact On Plaintiff’s
                             Motion For Summary Judgment Was Never Raised In
                             Opposition To Plaintiff’s Motion For Summary
                             Judgment. In Fact, It Was Not Raised Until Sunday,
                             July 17, 2022, Just 24 Hours Before Closing Arguments.

               A.        There Was No About-Face or Whipsaw on the Part of the Plaintiff

          This portion of CARNIVAL’s Motion for New Trial is predicated on a false history of this

   action. The following chronology establishes that CARNIVAL never raised the FBI notes in

   response Plaintiff’s Motion for Summary Judgment, and both parties stipulated to the use of the

   FBI notes with full knowledge of the summary judgment ruling.

          1.        On 3/9/21, Doe filed Motion for Partial Summary Judgment on Count V of

                    Complaint: False Imprisonment. [D.E. 92].



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         2.    Importantly, back then, Carnival had available to it every piece of evidence,

               including the FBI notes that were admitted at trial.

         3.    On 4/1/21, Carnival filed Response to Plaintiff's Motion for Partial

               Summary Judgment. [D.E. 112]. Carnival did not reference the FBI Notes

               in an effort to defend the Motion for Summary Judgment.

         4.    On 5/11/21, just two (2) months before Calendar Call, Doe listed on her

               Exhibit List the FBI Notes. [D.E. 131-1]. Carnival objected to Doe being

               able to use them on the grounds of hearsay and admissibility. Id. at 5.

               Though Carnival listed over fifty (50) exhibits in its Exhibit List, it did not

               list FBI Notes. [D.E. 131-2]. Carnival notified the Court that Anggara

               would testify live and it anticipated his direct would last two (2) hours and

               cross would last two (2) hours.         [D.E. 131-3].     Despite Carnival's

               representations, it failed to submit an affidavit from Anggara in opposition

               to the Motion for Summary Judgment.

         5.    On 6/25/21, Magistrate Judge Torres issued a Report and Recommendation

               granting Plaintiff's Motion for Partial Summary Judgment. [D.E. 151].

         6.    On 7/2/21, Carnival filed Carnival’s Objection to Report and

               Recommendation. [D.E. 153]. Carnival did not reference the FBI Notes in

               its Objection.

         7.    On 5/31/22, this Court adopted the Report and Recommendation. [D.E.

               197].

         8.    On 6/2/22, following agreement of the parties, Amended Exhibit List was

               filed. The FBI Notes were specifically referenced as a Joint Exhibit. [D.E.



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               201-1 at 3].

         9.    On 6/13/22, following agreement of the parties, Final Joint Exhibit List was

               filed. The FBI Notes were specifically referenced. [D.E. 212 at 3].

         10.   On 6/13/22, Carnival filed Motion for Reconsideration.           [D.E. 214].

               Carnival did not use the FBI Notes in support of its Motion for

               Reconsideration.

         11.   On 6/17/22, the parties agreed to the language for the proposed jury

               instruction regarding the finding the Court made as to false imprisonment.

               [D.E. 235 at 18].

         12.   On 6/20/22, Carnival filed a Notice of Supplemental Authority regarding

               introducing their proposed FBI exhibits. No mention of FBI Notes. [D.E.

               244].

         13.   On 6/21/22, the Court denied Carnival's Motion for Reconsideration. [D.E.

               249].

         14.   Carnival did not raise the FBI Notes as a basis at any pretrial hearing.

         15.   On 7/11/22, during Carnival's opening statement, Carnival stated: "You will

               have in evidence the notes from the FBI and the investigation they

               conducted." (See Trial Tr. July 11, 2022 at 128:5-6). Carnival did not move

               for reconsideration that day or at any point before the end of the first week

               of trial.

         16.   On 7/14/22, after the testimony concluded for the day, the Court went over

               the final jury instructions with the parties. (See Trial Tr., July 14, 2022 at

               71:22-24).     Discussion was had regarding the false imprisonment



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                  instruction.   Doe wanted to change the instruction to ensure the jury

                  understood that the Court decided the false imprisonment issue before trial.

                  Carnival interrupted Doe and stated: "That's fine." At the jury charge

                  conference, after completion of the fourth day of trial, after the FBI

                  notes had been referenced at trial, the parties correctly proceeded as if

                  the Court already decided the false imprisonment issue.



                   B.      The FBI Notes Were Not “Newly Discovered Evidence”

          CARNIVAL argues primarily that this Court should have granted its Motion for

   Reconsideration of the Partial Summary Judgment granted in favor of the Plaintiff on her claim of

   false imprisonment due to “the availability of new evidence.” (DE 329, p. 10-12). However, the

   law in this circuit is that in the summary judgment context, the movant must show that the new

   evidence was unavailable at the time that summary judgment was granted. PBT Real Estate, LLC

   v. Town of Palm Beach, 988 F.3d 1274, 1287 (11th Cir. 2021) (citing Mayz v. US Postal Service,

   122 F.3d 43, 46 (11th Cir. 1997) (“Where a party attempts to introduce previously unsubmitted

   evidence on a motion to reconsider, the Court should not grant the motion absent some showing

   that the evidence was not available during the pendency of the motion.”)). For this reason, in

   addition to the fact that it is a Fifth Circuit decision, CARNIVAL’s reliance on In re Louisiana

   Crawfish Producers, 852 F.3d 456 (5th Cir. 2017) is misplaced.              Moreover, CARNIVAL

   misrepresents the holding in that case. First, that case involved summary judgment granted to two

   defendants on the basis that there was no evidence that they were involved in dredging, a necessary

   prerequisite to support the plaintiff’s maritime tort claims. The facts in that case are much different

   than the facts here. In that case, the dispositive motion deadlines and briefing schedules were



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   completed prior to the date the plaintiff took the corporate representative deposition of Southern

   Natural, whose corporate representative admitted to facts which supported a finding that it was

   involved in dredging. In addition, Southern Natural responded to requests for admissions that

   were sent out by the plaintiffs long after the dispositive motion deadline, admitting that they were

   involved in dredging.

           When the district court, having no evidence from the plaintiff that Southern Natural was

   involved in dredging, naturally granted the motion for summary judgment, the plaintiff filed a

   motion for reconsideration, pointing out that notwithstanding due diligence, it had been unable to

   take the deposition of the Southern Natural corporate representative until after the briefing

   deadline, and had assumed that it would be provided an opportunity to supplement its prior

   briefing. Under those specific circumstances, the Fifth Circuit agreed that the evidence was newly

   discovered.

           However, CARNIVAL misrepresents the procedural context of that case (DE 329, p. 17)

   by stating “when that key fact came in at trial, reconsideration was required to ensure a decision

   based on ‘all the facts.’” (DE 329, p. 17) citing In re Louisiana Crawfish Producers, 852 F.3d at

   468. CARNIVAL has inserted the words “at trial,” because there was no trial prior to the appeal

   in In re Louisiana Crawfish Producers, which was an appeal from a summary judgment. Thus,

   the court merely held that the district court needed to have all of the facts necessary to render a

   decision on the summary judgment, not that reconsideration should be granted during the course

   of a trial, let alone the last day of trial.

           CARNIVAL’s attempts to compare this case to In re Louisiana Crawfish Producers, supra,

   fall short. Unlike the Crawfish case, where the evidence to defeat the summary judgment was not,

   even with due diligence, available until after the motion for summary judgment had been granted,



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   the evidence which CARNIVAL (incorrectly) claims creates a question of fact here – the FBI

   notes, as opposed to the FBI reports – was at all times available to CARNIVAL to file in opposition

   to Plaintiff’s Motion for Summary Judgment. Regardless, the FBI notes suffered from the same

   hearsay problem as the FBI reports, and Magistrate Judge Torres would no doubt have refused to

   consider the notes had they been filed in opposition to Plaintiff’s Motion for Summary Judgment.

   Indeed, even in its Motion for New Trial, CARNIVAL relies heavily upon the Plaintiff’s

   statements to the FBI agent, e.g., hearsay.

           CARNIVAL also misdescribes the procedural posture and holding in Jackson v. State of

   Alabama State Tenure Comm’n, 405 F.3d 1276 (11th Cir. 2005). That case did not involve a ruling

   on a motion to reconsider a motion for summary judgment. Rather, it was applying the law of the

   case doctrine based upon a prior appeal from a summary judgment, as opposed to its then current

   appeal from the denial of a Rule 50 motion at trial, following an earlier remand. The Eleventh

   Circuit simply observed that its ruling with respect to its prior appeal was based upon a different

   set of facts.

           Likewise, CARNIVAL misrepresents the holding in Shelkofsky v. Broughton, 388 F.2d

   977 (5th Cir. 1968) to support its motion. In Shelkolfsky the Fifth Circuit reversed a district court’s

   grant of summary judgment on behalf of the defendant, finding genuine issues of material fact in

   the record. Id. at 978. The portion of the case upon which CARNIVAL mistakenly relies simply

   holds that the reversal of the summary judgment does not mean that, depending upon how the trial

   unfolded, the court could not, under proper circumstances, grant a Rule 50(b) motion. Nothing in

   Shelkofsky supports CARNIVAL’s assertion that, having determined a motion for partial summary

   judgment on behalf of the plaintiff and a motion for reconsideration of that ruling by the defendant,

   where the defendant never pointed to the evidence that it subsequently stipulated itself could come



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   into evidence, requires this Court to revisit the original order granting partial summary judgment.

   This is particularly true because, as this Court noted, CARNIVAL sprang this issue on him less

   than 24 hours before closing argument. Had CARNIVAL raised this issue when it agreed to

   stipulate to the introduction of the notes, Plaintiff would not have stipulated to their introduction.

   (Exhibit A, Trial Tr. July 18, 2022, p. 15).

          These cases, as well as the cases this Court noted during trial, Newman v Ormond, 456 Fed.

   Appx. 866 (11th Cir. 2012), and TDN Money Systems Inc. v. Everi Payments, Inc., 796 Fed. Appx.

   329 (9th Cir. 2019) addressed the law of the case doctrine. As the Eleventh Circuit noted in

   Newman, “under the law of the case doctrine, both district courts and appellate courts are generally

   bound by a prior appellate decision in the same case.” Id. at 867. Thus, the term does not

   accurately apply here. There has been no appeal in this case. Thus, the Court’s ability to revisit

   prior rulings is constrained by the standards on motion for reconsideration which, as we discussed

   above, were not met here.

          C.      Plaintiff’s Experts Did Not Rely Upon the FBI Agents’ Conclusions

          CARNIVAL grossly overstates Plaintiff’s experts’ reliance upon the FBI reports and notes.

   Contrary to CARNIVAL’s assertion, it was able to cross examine Plaintiff’s security expert Dr.

   Foster about the FBI notes and reports, except for the conclusions, which this Court properly ruled

   were hearsay, and were unfairly prejudicial under Fed.R.Evid. 403. As usual, CARNIVAL cherry

   picks limited portions of the transcript, and leaves out the important part. For instance, on page 7

   of DE 329 CARNIVAL quotes a portion of the transcript which omits important information,

   attempting to leave the impression that it was completely foreclosed from cross examining Dr.

   Foster concerning the FBI reports. This was at the point in trial where the Court had to repeatedly




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    remind CARNIVAL’s counsel not to violate the motion in limine ruling. That drew the following

    admonition from this Court:

           Mr. Seitz, whether or not a crime occurred, I don’t think I could have been any
           clearer that we weren’t going there; and yet we seem to keep stepping up to the
           edge of that precipice. Don’t make me push you over, Mr. Seitz.

           There are already outstanding sanction motions, and today’s events suggest that we
           need to get to that sooner than I had thought. . . .

    (Exhibit B, Trial Tr. July 13, 2022, at 149:17-23). Nevertheless, CARNIVAL persisted in arguing

    that it should be able to elicit that information simply because Dr. Foster had reviewed the FBI

    reports. This Court ruled:

           He has said that he has reviewed the FBI reports. The FBI conclusion as to whether
           or not there is a prosecution is not coming into evidence, period.

    (Exhibit B, Trial Tr. July 13, 2022, at 151:8-10). Then, to make certain that the Court was clear

    the Court added:

           You may not bring out the fact that there was a declination of prosecution. You
           may not bring out the fact that an FBI report assessed this encounter as consensual.
           As I said in the previous hearing; that is for the jury to decide.

           You have, I believe, deliberately set up a strawman to knock down by cross
           examining that the expert has reviewed FBI reports and, therefore, you should be
           able to get into the fact that they determined it was consensual. That is bogus, it is
           violative of my order, and I will not allow any further discussion.

           You can bring out, as I have said repeatedly, that the FBI investigated, that
           statements were taken, because CARNIVAL appropriately wishes to prove that it
           adhered to all regulations involving reporting the incident to law enforcement and
           allowed them access to personnel, but that is it.

    (Exhibit B, Trial Tr. July 13, 2022, at 154:5-19). Thereafter, CARNIVAL moved for a mistrial

    which this Court denied. (Id. at p. 157).

           But CARNIVAL continued even after the Court ordered CARNIVAL to stop.

    CARNIVAL continued this pursuit of trying to get FBI reports into the case by berating Dr. Cheri



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    Surloff for eight (8) minutes regarding a certain quote that came from a document that was not

    found in a report, but that was referenced in her expert report. CARNIVAL kept pushing and

    asked Dr. Surloff to read from an FBI report that had a different quote. Dr. Surloff said she had

    never seen that FBI report before. Other than her own expert witness report, the only document

    CARNIVAL gave Dr. Surloff to try to refresh her recollection was an FBI report that the Court

    ruled was inadmissible. (Exhibit C, Trial Tr. July 15, 2022, 86:10–91:14).

              D.     This Court Properly Exercised its Discretion to Deny
                     CARNIVAL’s Eleventh-Hour Motion for Reconsideration.

           On the last day of trial, after the parties rested, this Court announced its ruling on

    CARNIVAL’s End-of-Trial Motion for Reconsideration, which had been filed the prior day:

           So that takes us to the motion for reconsideration on summary judgment. I have
           endeavored to piece together a timeline. That has been challenging enough, but here
           is apparently what happened.

           The plaintiff's first exhibit list included the FBI notes. That's May 11th of 2021.
           And the defense objected to the admission as hearsay and incomplete, whatever it
           was plaintiff had attached.

           Then on May 11th Carnival submits its first joint proposed jury instructions.
           Nowhere in those instructions is the issue of false imprisonment addressed. There
           was no instruction. That's in May of 2021.

           June 25th of 2021 Judge Torres entered his R and R recommending that this Court
           grant summary judgment as to the false imprisonment because plaintiff's testimony
           that Fredy Anggara held a door closed was uncontroverted. Specifically he found
           that the reports were inadmissible hearsay.

           In footnote 4 he discussed whether these reports could come in as a party admission
           if offered by plaintiff, but he made no determination. And that was in June of 2021.

           Two weeks later, on July 2nd, the parties submitted their first joint exhibit list, in
           which they appear to stipulate to the admission of some FBI notes for the first time.
           It is unclear because, of course, I didn't have a binder of any type, but there it is.

           During our February 15th status conference, I ruled that I was adopting Judge
           Torres's R and R, and that order was entered on May 31st of 2022. But I advised
           the parties in February that I would be doing that.

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           After the order was docketed, the parties submitted a new joint exhibit list, again
           indicating some agreement on FBI notes; and also for the first time giving me a jury
           instruction on false imprisonment.

           A week later you submitted a final joint exhibit, again stipulating to the notes; and
           on the same day Carnival moved for reconsideration of the summary judgment.
           Interestingly, Carnival never cited the draft notes that were ultimately introduced
           into evidence; they cited only the FBI 302s in two entences on page 3 of Docket
           Entry 214.

           Carnival did not argue that now that they had agreed to introducing these documents
           the landscape had altered requiring me to revisit summary judgment. And, frankly,
           I don't think I had your binder yet with what it is you had agreed to. You'll recall
           we had many conversations about the failure to indicate what exactly certain
           exhibits were.

           But, nonetheless, the argument that is now being advanced that the admission of
           the notes changes what the Court has to rely on was not set forth in Carnival's
           motion. And as you will recall, I denied that motion. It is now being raised for the
           first time at the end of trial.

           Mr. Courtney's argument is that he has been prejudiced because he has not designed
           his case around this issue, thinking it had been resolved; even though -- for reasons
           that remain unclear to me -- the parties agreed that the rough notes came in as a
           substantive matter.

           I honestly don't know what it is the parties have been doing about so much in this
           case. But I do believe that the fact that, as is recounted in Mr. Courtney's motion,
           over the weekend and in conversations, we did not substantively visit this issue
           until Saturday or Sunday when the motion was filed by Carnival.

           So I am going to in my discretion find that this, indeed, would be prejudicial to the
           plaintiff at this time, and I am not going to revisit the order that Judge Torres
           entered.

           I am, however, going to modify the jury instruction. . . .

    (Exhibit A, Trial Tr. July 18, 2022, p. 68-70).
           This Court has limited discretion to revisit pretrial rulings. This Court properly exercised

    that discretion by declining to grant CARNIVAL’s tardy motion which was filed near the

    conclusion of a trial predicated on the Court’s prior summary judgment ruling. It is unfathomable



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    that CARNIVAL waited until the conclusion of the trial to raise the issue. As this Court properly

    noted, changing its ruling at that juncture would have greatly prejudiced the Plaintiff’s case.


                   II.     The FBI Reports and Their Conclusions Were Properly
                           Excluded Because They Contained Inadmissible Hearsay
                           and What Limited Probative Value They Had Was Far
                           Outweighed By the Unfairly Prejudicial Nature of Their
                           Admission Under Fed.R.Evid. 403.

           The Eleventh Circuit reviews a district court’s ruling on the admissibility of evidence under

    a deferential abuse of discretion standard. Goulah v. Ford Motor Co., 118 F.3d 1478, 1483 (11th

    Cir. 1997). Accordingly, the court will not overturn an evidentiary ruling unless the moving party

    proves a substantial prejudicial effect. Id.

           Moreover, even records which might under some circumstances be admissible under the

    public records exception to the hearsay rule may properly be excluded from evidence in a jury trial

    under Rule 403 where the probative value of the determination is “outweighed by the danger of

    creating unfair prejudice in the minds of a jury.” Blanton v. University of Florida ex rel Bd. of

    Trustee of Florida, 273 Fed.Appx. 797, 804 (11th Cir. 2008).

           Whether such determinations may be admitted under Rule 403 is a decision left to the

    sound discretion of the district court. Id. In Blanton, the Eleventh Circuit exercised deference to

    the trial court’s decision to admit an EEOC report, finding that “because the first EEOC

    determination concerned Blanton’s discrimination claim, not the retaliation claims that were

    before the jury, evidence of the determination was less likely to create a danger that the jury would

    mistakenly view it as conclusive of any issue as to Blanton’s retaliation claim.” Id. at *7.

           Here, by contrast, this Court correctly concluded that the conclusion of that special agent

    Sara Andreason that this was a consensual sexual encounter, and that, after that information was

    relayed to a prosecutor, the prosecutor declined to prosecute, go to the central issue in this case.

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    Their introduction, which would have had little to no actual probative value, would have

    unquestionably unfairly prejudiced the plaintiff.

           CARNIVAL argues that the Court could have provided a curative instruction that the

    criminal standard and the civil standard are different, but even curative instructions have their

    limits. Indeed, the United States Supreme Court has recognized that “some occurrences at trial

    may be too clearly prejudicial for . . . a curative instruction to mitigate their effect.” Donnelly v.

    DeChristoforo, 416 U.S. 637, 644 (1974). See also Ewing v. Carnival Corp., 2022 WL 1719315

    (S.D. Fla. 2022) (granting new trial, and determining that curative instruction was insufficient).

    Regardless, the mere fact that CARNIVAL argues that a curative instruction would be necessary

    confirms this Court’s Rule 403 analysis that the introduction of the declination of prosecution

    would have a strong likelihood of unfairly prejudicing or confusing the jury under a 403 analysis.

           The cases upon which CARNIVAL relies do not support its Motion. For instance, in U.S.

    v. Sallins, 993 F.2d 344 (3rd Cir. 1993), the court reversed and remanded for a new trial on the

    defendant’s possession of a firearm conviction because the contents of the police radio dispatch

    and the police computer record were inadmissible hearsay. There, as here, there was no tenable

    non-hearsay purpose for offering the contents of the proffered exhibit.

           Likewise, in Miller v. Field, 35 F.3d 1088 (6th Cir. 1994), the Sixth Circuit held that

    statements by the alleged victim, alleged assailants, other witnesses and the local prosecutor were

    hearsay within hearsay and therefore inadmissible even though contained in a police report. While

    the court held that the fact that the prosecutor had elected not to press charges against plaintiff’s

    fellow inmates was admissible, the court held that the reasoning behind the prosecutor’s decision

    not to prosecute was inadmissible hearsay:

           Obviously, these third party statements, including the “opinion” of the local
           prosecutor that Miller’s account was not credible and could not be corroborated,

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            depended for their relevance on the truth of their contents, which makes them
            inadmissible hearsay. . . .

    Id. at 1092. Here, the FBI report (DE 111-4) contains the following statement:

            The investigation revealed the sexual encounter was consensual at the time of the
            event, and declination of prosecution was received from AUSA Susan Huyler of
            the Middle District of Florida . . . .

    (DE 111-4).     CARNIVAL sought to usurp the jury’s function by introducing FBI Agent

    Andreason’s personal opinion, and the resultant declination of prosecution for a crime in this civil

    case.

            Likewise, CARNIVAL’s reliance upon Crawford v. ITW Food Equipment Group LLC, 977

    F.3d 1331 (11th Cir. 2020) is overstated. In Crawford the district court exercised its discretion to

    permit the use of portions of certain OSHA reports to establish that the defendant had notice of the

    “common sense danger of an unguarded saw blade . . . .” Id. at 1351. In Crawford, the reports

    were highly probative on the issue of notice. Also, in Crawford the Eleventh Circuit held that the

    district court did not abuse its discretion in determining that the “considerable” probative value of

    the OSHA reports outweighed any minimal prejudice. Id. at 1351-52.

            Here, the opposite is true. This Court properly exercised its discretion to preclude the use

    of the FBI reports under a hearsay and 403 analyses. Given the high burden of proof in a criminal

    prosecution, a prosecutor’s decision not to prosecute what may have amounted to a “he said she

    said” sexual encounter has very little – if any – probative value to a civil jury’s determination,

    based upon a preponderance of the evidence, as to whether the encounter was consensual.

    Additionally, because the danger that the imprimatur of the Government’s declination of

    prosecution could have upon a civil jury, even one which has been provided a curative instruction,

    is great, this Court did not abuse its discretion in ruling the FBI reports to be inadmissible under

    Fed.R.Evid. 403.

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                        III.   CARNIVAL Failed to Carry its Burden to Establish a
                               Mitigation of Damages Affirmative Defense and Never
                               Presented an Appropriate Instruction to this Court for
                               Mitigation of Damages with Respect to Pursuing
                               Psychological Care.

            First and foremost, mitigation of damages is an affirmative defense for which the

    Defendant, CARNIVAL, bears the burden of proof. See Munoz v. Disney Destinations, Inc., 223

    F.3d 1340, 1347 (11th Cir. 2000); Nord v. U.S. Steel, 758 F.2d 1462, 1470-71 (11th Cir. 1985).

    See also, Garcia v. Walmart Stores, Inc., 2009 F.3d 1170, 1174 (10th Cir. 2000)1 (finding no error

    in failing to give mitigation of damages instruction regarding plaintiff’s failure to obtain

    psychological counseling where defendant did not prove that there had been a failure to mitigate).

    In this case CARNIVAL failed to elicit evidence of failure to treat or mitigate. CARNIVAL never

    put on a defense expert to opine that the Plaintiff’s alleged failure to treat constituted a failure to

    mitigate, nor did CARNIVAL ask Plaintiff’s psychologist Dr. Surloff about Plaintiff’s alleged

    failure to treat.

            Far from proving that the Plaintiff failed to mitigate any damages, the evidence displayed

    that CARNIVAL refused to provide the Plaintiff with her own medical records, including a note

    from the ship’s doctor to “[p]erform HIV antibody testing during the original assessment and again

    at 6 weeks, 3 months, and 6 months after the assault” and to “[f]ollow up with mental health

    services for counseling.” (Exhibit D, Joint Exhibit 2-7, p. 8 of 17) (emphasis added). Indeed,

    CARNIVAL’s counsel admitted during closing argument that “I’m the first one to stand here

    before you and say they should have given her her medical records . . . .” (Exhibit A, July 18,

    2022 transcript, p. 119). The Plaintiff confirmed in her trial testimony that she was never provided




    1
     Garcia was abrogated on other grounds, as recognized in Stender v. Archstone-Smith Oper. Trust,
    958 F.3d 938, 948-49 (10th Cir. 2020). The abrogation had to do with an award of costs.
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    her medical records or a copy of her four page statement or the retraction of allegation form.

    (Exhibit C, Trial Tr. July 15, 2022, p. 210). She was unaware that any type of follow up medical

    or psychological care had been recommended by the ship’s physician. (Exhibit C, Trial Tr. July

    15, 2022, p. 211).

           During CARNIVAL’s cross examination the Plaintiff asked if she could explain why she

    had not seen a mental health therapist prior to December 2019, but CARNIVAL’s counsel would

    not allow her to do so. (Exhibit C, Trial Tr. July 15, 2022, p. 249-250). However, CARNIVAL’s

    own Exhibit 8-2 (Exhibit E) (at p. 3 of 19) which are the Plaintiff’s medical records from Kaiser

    Permanente, confirm that “she has been trying to find a therapist and has called at least 20 and

    haven’t [sic] gotten a call back. Last summer, she went to a crisis center.”

           Further, the Plaintiff did treat with a therapist through an application called Better Health

    including Zoom appointments, which she did for the whole year of 2020. (Exhibit C, Trial Tr.

    July 15, 2022, p. 224-225). She was doing well with one therapist named Jennifer until Jennifer

    “had her own mental thing that she had to take care of, and so I had to switch to a different

    therapist.” (Id. at p. 225). She has also sought therapy with other therapist, one named Allison,

    and had recently started with another therapist named Michelle Fowler. (Id. at p. 225). She

    estimated that she had spent 3 to 4 thousand dollars personally on therapy. (Id. at 226). One of

    the purposes of this lawsuit was to recover compensation to seek such therapy.

           Accordingly, under the facts of this case CARNIVAL was not entitled to a mitigation of

    damages instruction for failure to seek psychological care. CARNIVAL failed to provide any

    expert or lay testimony that any delay in seeking treatment negatively impacted Plaintiff’s mental

    recovery. In short, CARNIVAL failed to establish its burden of proof on that defense.




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            The Eleventh Circuit reviews a district court’s rejection of a proposed jury instruction for

    an abuse of discretion. Fidelity Interior Const. Inc. v. Southeastern Carpenters Regional Council,

    675 F.3d at 1250, 1259 (11th Cir. 2012) (citing United States v. Webb, 655 F.3d 1238 (11th Cir.

    2011). The Eleventh Circuit will reverse the district court’s refusal to incorporate a requested jury

    instruction only if the instruction was (1) substantially correct, (2) the requested instruction was

    not addressed in the charges actually given, and (3) failure to give the instruction seriously

    impaired the requesting party’s ability to present an effective case. Id.

            Nevertheless, a district court does not abuse its discretion by refusing to give a requested

    jury instruction that is an incomplete statement of the law or that would confuse the jury. United

    States v. Waters, 937 F.3d 1344, 1353 (11th Cir. 2019). See also United States v. Silverman, 745

    F.2d 1386, 1396 (11th Cir. 1984) (noting that a district court “is bound to refuse a requested

    instruction that is incomplete, erroneous, or misleading”).

            CARNIVAL claims that it requested a jury instruction based on the Plaintiff’s failure to

    mitigate her damages by not following her doctor’s instruction to obtain treatment for her claims

    of psychological injuries, referencing DE No. 241. (DE 329, p. 31 of 36). DE No. 241 was the

    parties’ joint proposed jury instructions. The parties presented as proposed instruction number 17

    a jury instruction entitled “Negligence General Instruction” that was 3 pages long, and appears to

    be a slightly modified version of U.S. Eleventh Circuit 2013 Pattern Jury Instructions – Instruction

    8.1. (DE 241, p. 24). That instruction was drafted for Jones Act claims, but was apparently

    modified to adapt to a passenger claim. (DE 241, p. 24). That instruction does not mention failure

    to seek treatment for psychological injuries whatsoever. The portion of the instruction applicable

    here states:

                   You are instructed that any person who claims damages as a result
                   of an alleged wrongful act on the part of another has a duty under

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                   the law to “mitigate” those damages – that is, to take advantage of
                   any reasonable opportunity that may have existed under the
                   circumstances to reduce or minimize the loss or damage. So, if you
                   should find from a preponderance of the evidence that the Plaintiff
                   failed to seek out or take advantage of a business or employment
                   opportunity an opportunity that was reasonably available under all
                   the circumstances shown by the evidence, then you should reduce
                   the amount of the Plaintiff’s damages by the amount that could have
                   been reasonably realized if the Plaintiff had taken advantage of such
                   opportunity.

    (DE 241, p. 24).

           The underlined language appears in the pattern jury instruction 8.1, as requested by

    Plaintiff. The italicized portion was requested by CARNIVAL. At the pretrial charge conference,

    CARNIVAL argued that the instruction should not be limited to business or employment

    opportunities, and suggested that the instruction be changed to “an opportunity.”:

           The Court:    Let’s talk about the way in which the jury is to assess damages. It
           appears you have agreed to everything up to page 24 – midway through that
           paragraph as to mitigation and failure to take advantage . . . the Plaintiff says to
           take advantage of a business or employment opportunity and Carnival says an
           opportunity.

           What is the thinking behind that distinction?

           Mr. Mase:       I believe that it is too restrictive as phrased. And I think that the
           evidence will support that the Plaintiff failed to take advantage of all opportunities
           to get care post incident that she could or should have.

           The Court:     That is interesting. The Eleventh Circuit sent me a little love note
           about using a mitigation instruction in a contract case.

           And reference to how – despite the encouragement of the lawyers – that it wasn’t
           appropriate. So its important if the jury is being asked to mitigate that it is clear
           what are you talking about.

           Mr. Mase:      Your Honor, I’m talking about a failure to seek recommended
           medical slash psychological care.

           The Court:    Which case in the cases listed supports the theory that a mitigation
           instruction would be appropriate for that type of damage?



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            Mr. Mase:       Your Honor, I will find the case that says that.

            The Court:     Having just heard from the Eleventh, Mr. Mase, I’m going to want
            to see some authority.

            Mr. Mase:       I will find that authority.

    (Exhibit F, July 7, 2022 transcript, page 35-36).

            Thus, the only jury instruction that was ever presented to the court was jury instruction

    number 17 in the Joint Proposed Jury Instructions. That instruction, taken from the Eleventh

    Circuit Pattern Instructions for a Jones Act claim (which typically involve a personal injury)

    limited the mitigation of damages instruction to “business opportunities.” CARNIVAL objected

    to that instruction – which the Plaintiff had agreed could be given -- and its only suggested change

    was to drop the word “business” and utilize only the word “opportunity.” As stated, the instruction

    would have been an incomplete statement of the law and would have been misleading to the jury.

    Thereafter, CARNIVAL never provided to the Court a proposed written jury instruction on

    mitigation of damages for failing to seek earlier or better psychological counseling. It is not the

    duty of the trial court to rewrite the jury instructions for either party.

            The issue next arose during the trial on July 14, 2022 (Exhibit G, p. 77) where CARNIVAL

    cited Rubenstein v. Yehuda, 38 F.4th 982 (11th Cir. 2022), which was the very case that this Court

    had referenced in the prior transcript because the Eleventh Circuit had reversed this Court for

    giving a mitigation instruction, in that case involving assignment of an interest in an LLC that

    owned a hotel. However, CARNIVAL never brought to this Court’s attention, as it does in its

    Motion for New Trial, the “paradigmatic” example cited by the Eleventh Circuit with respect to a

    plaintiff’s failure to mitigate the effects of a broken leg by failing to obtain proper medical care

    after the accident. That was a hypothetical example from Ridley v. Safety Kleen Corp., 693 So.2d

    934, 942 (Fla. 1996), referencing an example taken from a treatise on torts. Had CARNIVAL

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    brought that hypothetical example to this Court’s attention, perhaps this Court would have

    provided a mitigation instruction under the circumstances. However, a party’s failure to seek

    medical care for a broken leg – literally a flesh and bone injury – is much more easily understood

    as a failure to mitigate than is a party’s alleged failure to seek more or better counseling for

    psychological injury, particularly when CARNIVAL never presented any evidence about what

    else could or should have been done, and whether it would have made any difference, let alone

    whether the Plaintiff could afford to seek more or better care.

           Nor does it appear that CARNIVAL did anything other than cite the name of Rubenstein

    v. Yehuda to the Court on July 14. For instance, there is no reflection that the case was handed to

    the Court to read in depth. In fact, this Court asked CARNIVAL’s counsel if it was aware of any

    other case involving CARNIVAL or any passenger – not even necessarily a sexual assault case

    where the issue of emotional damages had been raised in mitigation was asserted as to the

    emotional damage claim. The following morning, CARNIVAL presented the jury instruction that

    was given in the case of J.G. v Carnival, a case where a mitigation of damages instruction was

    provided. (Exhibit C, Trial Tr. July 15, 2022, p. 4). On the next trial date, July 18, 2022 the Court

    noted that the instruction from J.G. v. Carnival addressed employment, not psychological

    damages. (Exhibit A, Trial Tr. July 18, 2022, p. 18-19). Accordingly, this court concluded “I’ve

    seen nothing about mitigation as to emotional distress, and I won’t give that instruction,” referring

    to the employment opportunity instruction from J.G. v. Carnival. (Id., p. 19).

           The Eleventh Circuit Pattern Jury Instruction on personal injury (Jones Act) claims

    includes a mitigation of damages instruction directed solely to “business opportunities.”

    CARNIVAL has not cited a single case to this Court to establish that its orally proposed instruction

    represents an accurate statement of the law or failure to give the instruction seriously impaired



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    CARNIVAL’s ability to present its case. Thus, CARNIVAL is not entitled to the instruction it

    sought under Eleventh Circuit authority.

                                               CONCLUSION

           Again, none of CARNIVAL’s arguments have merit.                 This Court should deny

    CARNIVAL’s Motion for New Trial.

                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

    Court via CM/ECF on January 20, 2023. I also certify that the foregoing was served on all counsel

    or parties of record on the attached Service List either via transmission of Notices of Electronic

    Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

    are not authorized to receive electronic Notices of Filing.

                                                          Philip D. Parrish, P.A.
                                                          Co-counsel for Plaintiff
                                                          7301 SW 57th Court, Suite 430
                                                          Miami, Florida 33143
                                                          Tel. 305-670-5550/Fax: 305 670-5552
                                                          Email: phil@parrishappeals.com
                                                                 betty@parrishappeals.com

                                                          By:     /s/ Philip D. Parrish
                                                                  Philip D. Parrish
                                                                  Florida Bar No. 541877




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                                      SERVICE LIST
    Daniel W. Courtney, Esq.
    Daniel W. Courtney, P.A.
    Counsel for Plaintiff
    10800 Biscayne Blvd., Suite 700
    Miami, FL 33161
    Tel. 305-579-0008
    dc@danielcourtneylaw.com

    Curtis J. Mase, Esq.
    Lauren N. Cabeza, Esq.
    Tyler J. Rauh, Esq.
    William R. Seitz, Esq.
    Mase Seitz, P.A.
    Counsel for Defendant
    SBS Tower
    2601 S. Bayshore Drive
    Suite 800
    Miami, FL 33133
    Tel. 305-377-3770
    Fax 305-377-0080
    cmase@maselaw.com
    lcabeza@maselaw.com
    trauh@maselaw.com
    wseitz@maselaw.com

    Lauren A. Levitt, Esq.
    Mase Seitz, P.A.
    Counsel for Defendant
    11870 SW 94 Street
    Miami, FL 33186
    Tel. 305-409-9805
    LLevitt@maselaw.com




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